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      UNITED STA]'ES OF AMEI{ICA                                                       cR. NO. 22-22 H
                                                                                       ORDER
       Vlrl(St.iS                                                              X       Appointing Counsel
                                                                                       Substitutirrg Counscl lror:

       ljl.ORIINClr I{nNDI-t1
                                                                                       Rati ly ing Prior Service

                                                                                       Extending Appointnrent For Appeal

      CHARGE: VIOLATIONS OF SUPERVISED RELEASE
           FELONY             MISDEMEANOR




     X 'l'hc defendant. Iraving satisfled this CoLrrt that hc/shc: ( l) is Iinancialll' unable to etnploy cor.tnsel. ancl
       (2) does no1 wislt to waive counscl. ancl because tltc intcrests ol'justicc so rccluit'c, the lrederal I)ublic
    - Def'ender rratrrcd below is hereby'appointecl to represent this del'errdant irt the above dcsignated case until
         relieved by order of the District Couft:
              CLAUDE J. KELLY, FEDERAL PUBLIC DEFENDEIT, HALE BOGGS FEDERAT, I}LIX}.,
         llM 318,500 CAMP STIIEET, NEW OIILEANS, LA 70130 I'HONE: (504)589-7930
         F'cderal l']Lrblic Defender is appointed I'or the lirnited pLtrpose of:



         It appearing to the Court that although the del'endant is flnancially unable to entploy counsel. heishe is
          totally indigent.
         IT IS FURTHER ORDERED that the defendant pay to the Clerk, U. S. District Court fbr services ol
         counSel,thetotalamountof$-tobepaidwithinl0workingdays
         or by
         I'I IS FURl'tlER OI{DEI{ED that the def'endarlt is to pa} to the Clerk. L.J.S. District Court. for scrvices
         of counsel, $                     per rnonth. This atnouttt is to be paid, beginning on                     . 20-.
         rrntil lirrthcr orclcrs of'thc Corrrt


         Dated at New Orleans. [.outisiana.        on AI'l{lL 8.2024


                                                                 TJNITDT)          A1'l1S MAGI llL,,\ IIr.l[;t)(ill


    Copy to Financial LJnit Clerk (Only if detbndant is ordcred to pay)




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